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2
                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA
3

4
     STELLAR IT SOLUTIONS, INC., F/K/A
5
     STELLAR SOFTWARE NETWORK,
6    INC., a Maryland corporation.
                                                  Case No.: 18-2015
7
     9210 Corporate Blvd, Suite 265,
8    Rockville, MD
9
                                                  COMPLAINT
     KARTIK Krishnamurthy
10   11015 NE 194th Dr. Bothell, WA 98011
11
      Plaintiffs,
12

13          vs.
14
     UNITED STATES CITIZENSHIP AND
15   IMMIGRATION SERVICES,
     20 Massachusetts Ave NW,
16
     Washington DC 20529
17

18

19                            Defendants.
20

21

22

23

24

25

26
       COMPLAINT                                  Michael E Piston (MI 002)
                                                  Attorney for the Plaintiffs
27                                                225 Broadway, Ste 307
                                                  New York, NY 10007
28                                                646-845-9895
                                                  michaelpiston4@gmail.com


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1                                       COMPLAINT
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4                                    I. INTRODUCTION
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           1. This is an action brought pursuant to section 10b of the Administrative
6
     Procedure Act, 5 U.S.C. § 702, et. seq., seeking to hold unlawful and set aside the
7

8    decision of the California Service Center (CSC) Director of the United States
9
     Citizenship and Immigration Services (USCIS) in File No. WAC1890227492 on
10

11
     May 31, 2018, denying Stellar It Solutions, Inc., F/K/A Stellar Software Network,

12   Inc. (Stellar)’s Form I-129, Petition for Nonimmigrant Worker upon behalf of Kartik
13
     Krishnamurthy, on the grounds that the decision was arbitrary and capricious,
14

15   inasmuch as USCIS offered an explanation for it that ran counter to the evidence,
16
     and it was also not in accordance with law.
17

18
           2. This action also asks the Court to hold unlawful and set aside the USCIS’s

19   denial of Kartik Krishnamurthy’s application to extend his H-1B nonimmigrant
20
     status in the United States (same date and file number as above), which was denied
21

22   solely because of the erroneous denial of Stellar’s petition upon his behalf.
23

24

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26
       COMPLAINT                                   Michael E Piston (MI 002)
                                                   Attorney for the Plaintiffs
27                                                 225 Broadway, Ste 307
                                                   New York, NY 10007
28                                                 646-845-9895
                                                   michaelpiston4@gmail.com


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1                                     II. PLAINTIFFS
2
           3. Stellar is a Maryland corporation with offices in Maryland and Ohio, and
3

4    a leading provider of professional software services. Its offerings include custom
5
     software development, web development, systems integration, onsite, offsite and
6
     offshore software development. Its project services model consists of requirements
7

8    gathering, scope estimation, evaluation of the business process, system and
9
     framework design, software development, testing and implementation. Exhibit A at
10

11
     20.

12         4. Kartik Krishnamurthy is a native and citizen of India who was lawfully
13
     employed by Stellar as an H-1B nonimmigrant with USCIS authorization from June
14

15   14, 2011 to May 31, 2018. Exhibit A at 59-64. His education and experience has
16
     been evaluated by a professor in the field as the equivalent of a Master’s degree in
17

18
     Business Administration with a major in Management Information Systems. Exhibit

19   A at 30-31.
20

21

22                                   III. DEFENDANT
23

24

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26
      COMPLAINT                                   Michael E Piston (MI 002)
                                                  Attorney for the Plaintiffs
27                                                225 Broadway, Ste 307
                                                  New York, NY 10007
28                                                646-845-9895
                                                  michaelpiston4@gmail.com


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1          5. The defendant, United States Citizenship and Immigration Services
2
     (USCIS), is an agency of the United States government residing in the District of
3

4    Columbia.
5

6                                     IV. JURISDICTION
7
           6. This being a civil action against the United States arising under the
8
     Immigration and Nationality Act, 8 U.S.C. § 1101, et. seq., and the Administrative
9

10   Procedure Act, 5 U.S.C. § 701, et. seq., both laws of the United States, original
11
     jurisdiction over this matter is vested in this Court by 28 U.S.C. § 1331.
12

13

14
                                        V. STANDING
15

16
           7. Stellar has a legally protected interest in a decision by the USCIS on
17

18
     Stellar’s petition upon Mr. Krishnamurthy’s behalf which is not arbitrary and

19   capricious, nor an abuse of discretion, and which is in accordance with law, per 5
20
     U.S.C. § 706(2), and the invasion of this right has caused it concrete and
21

22   particularized injury in that as a result of this invasion Stellar can no longer employ
23
     Mr. Krishnamurthy and so cannot derive the revenue it previously received from the
24
     sale of his services to its client; (2) there is a causal connection between the injury-
25

26
       COMPLAINT                                   Michael E Piston (MI 002)
                                                   Attorney for the Plaintiffs
27                                                 225 Broadway, Ste 307
                                                   New York, NY 10007
28                                                 646-845-9895
                                                   michaelpiston4@gmail.com


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1    in-fact and the defendant’s challenged behavior in that it is precisely the defendant’s
2
     denial of Stellar’s petition and Mr. Krishnamurthy’s application for extension of stay
3

4    which prevents him from working for Stellar and (3) it is certain that the injury-in-
5
     fact will be redressed by a favorable ruling in that such a ruling will enable Stellar
6
     to employ Mr. Krishnamurthy again and so once more derive revenues from the sale
7

8    of his services. Accordingly, Stellar has standing to complain of this action. Lujan
9
     v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992)
10

11
           8. Mr. Krishnamurthy likewise has a legally protected interest in a decision

12   by the USCIS on Stellar’s petition upon his behalf which is not arbitrary and
13
     capricious, nor an abuse of discretion, and which is in accordance with law, per 5
14

15   U.S.C. § 706(2), and this right has been invaded inasmuch as because of the
16
     improper denial of this petition his application for extension of stay has also been
17

18
     denied. The invasion of this right has caused him concrete and particularized injury

19   in that as a result of this invasion he can no longer be employed by Stellar and so
20
     cannot derive the revenue he previously received from his employment and his
21

22   presence in the United States has been rendered unlawful; (2) there is a causal
23
     connection between the injury-in-fact and the defendants’ challenged behavior in
24
     that it is precisely the defendants’ denial of Stellar’s petition and his application for
25

26
       COMPLAINT                                    Michael E Piston (MI 002)
                                                    Attorney for the Plaintiffs
27                                                  225 Broadway, Ste 307
                                                    New York, NY 10007
28                                                  646-845-9895
                                                    michaelpiston4@gmail.com


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1    extension of stay which prevents him from working for Stellar and (3) it is certain
2
     that the injury-in-fact will be redressed by a favorable ruling in that such a ruling
3

4    will enable Stellar to employ Mr. Krishnamurthy again and so enable him to support
5
     himself and lawfully remain in the United States. Further, Stellar wishes to employ
6
     Mr. Krishnamurthy in the offered position. Accordingly, Mr. Krishnamurthy has
7

8    standing to complain of this action. Lujan, supra.
9

10                                       VI. VENUE
11
           9. Pursuant to 28 U.S.C. § 1391(e), venue is proper in the District of
12

13   Columbia, where the defendant resides.
14

15
                   VII. BRIEF STATEMENT OF PROCEDURAL HISTORY
16

17         10. On August 29, 2017, Stellar filed a Petition for a Nonimmigrant Worker
18
     (Form I-129), with USCIS seeking to classify Mr. Krishnamurthy as a temporary
19

20   worker in a specialty occupation (H-1B) under 8 U.S.C. § 1101(a)(15)(H)(i)(b) with
21   a concurrent request for extension of stay. Exhibit A.
22
           11. On January 23, 2018 the USCIS issued a Request for Evidence pertaining
23

24   to said petition. Exhibit B.
25

26
       COMPLAINT                                  Michael E Piston (MI 002)
                                                  Attorney for the Plaintiffs
27                                                225 Broadway, Ste 307
                                                  New York, NY 10007
28                                                646-845-9895
                                                  michaelpiston4@gmail.com


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1              12. Although said Request indicated that Stellar had until April 17, 2018 to
2
     file a response to this Request, nevertheless on March 20, 2018 USCIS issued a
3

4    decision prior to Stellar having filed an answer to its request. Exhibit C.
5
               13. On approximately April 17, 2018 Stellar filed a timely motion to
6
     reconsider and reopen with USCIS pertaining to this matter. Exhibit D.
7

8              14. On May 31, 2018 the USCIS reopened its decision of March 20, 2018
9
     denying this petition, but nevertheless, following that reopening, denied it again.
10

11
     Exhibit E.

12             15. The stated bases for the Decision1 of May 31, 2018 were:
13
           (a) Stellar had “not established that you will be a ‘United States employer’
14
               having an ‘employer-employee relationship’ with Mr. Krishnamurthy as an
15             H-1 B temporary ‘employee.’"; Exhibit E at 3.
16
           (b) Stellar had “not demonstrated that the proffered position is a specialty
17             occupation.” Exhibit E at 6.
18
           16. The Decision offered two reasons for its conclusion that Stellar had failed to
19

20   establish that it was a U.S. Employer: 1) “The record remains absent of evidence
21   regarding the work at the end-client's facility” and 2) Stellar had not proven that it
22

23

24

25
     1
         All references to the “Decision” hereafter shall refer to the decision of May 31, 2018.

26
          COMPLAINT                                        Michael E Piston (MI 002)
                                                           Attorney for the Plaintiffs
27                                                         225 Broadway, Ste 307
                                                           New York, NY 10007
28                                                         646-845-9895
                                                           michaelpiston4@gmail.com


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1    actually “supervise(s) or oversee(s) the beneficiary's work while he performs his
2
     duties at the client's site.”. Exhibit E at 3.
3

4       17. The Decision also offered two reasons for its conclusion that Stellar had
5
     failed to establish that the job offered Mr. Krishnamurthy was not in a specialty
6
     occupation: 1) Stellar supposedly failed to provide “a statement of work detailing
7

8    the project's outline description, duration, role and the beneficiary's duties to
9
     demonstrate the end-client will actually use computer occupations for daily
10

11
     assignments”; and 2) Stellar likewise supposedly failed to establish that “your

12   client has required that the degree must be in a specific specialty.” Exhibit E at 5.
13

14
            18. On the same date USCIS denied Mr. Krishnamurthy’s application for
15
     extension of stay because Stellar’s petition upon his behalf was denied. Exhibit F.
16

17

18
                                    VIII CAUSE OF ACTION
19

20       19. 5 U.S.C. § 706 provides in material part that:
21          To the extent necessary to decision and when presented, the reviewing court
22          shall decide all relevant questions of law, interpret constitutional and statutory
            provisions, and determine the meaning or applicability of the terms of an
23
            agency action. The reviewing court shall--
24          …
25

26
       COMPLAINT                                      Michael E Piston (MI 002)
                                                      Attorney for the Plaintiffs
27                                                    225 Broadway, Ste 307
                                                      New York, NY 10007
28                                                    646-845-9895
                                                      michaelpiston4@gmail.com


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1          (2) hold unlawful and set aside agency action, findings, and conclusions
2
            found to be--
        o   (A) arbitrary, capricious, an abuse of discretion, or otherwise not in
3           accordance with law;
4
        20. The USCIS’s decision of May 31, 2018 denying Stellar’s H-1B petition
5

6    upon behalf of Mr. Krishnamurthy was arbitrary and capricious inasmuch as its
7
     finding that “the record remains absent of evidence regarding the work at the end-
8
     client’s facility” and that Stellar “failed to provide a statement of work detailing
9

10   the project’s outline, description and role and the beneficiary’s duty” was arbitrary
11
     and capricious in that it runs directly contrary to the evidence in the record.
12

13      21. Specifically, it is completely refuted by, and shows a total disregard for, the
14
     letter Honda of North America filed in support of Stellar’s motion to reconsider
15
     and reopen. Exhibit D at 32-33.
16

17      22. The USCIS’s finding that Stellar lacked an employer-employee relationship
18
     with Mr. Krishnamurthy because it had not proven that it actually “supervise(s) or
19

20   oversee(s) the beneficiary's work while he performs his duties at the client's site” is
21   not in accordance with law.
22
        23. Specifically, under two decisions of the U.S. Supreme Court, the decisions
23

24   of 9 Circuit Courts of Appeal (including the D.C. Circuit) and the USCIS’s own
25

26
       COMPLAINT                                   Michael E Piston (MI 002)
                                                   Attorney for the Plaintiffs
27                                                 225 Broadway, Ste 307
                                                   New York, NY 10007
28                                                 646-845-9895
                                                   michaelpiston4@gmail.com


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1    binding Adjudicator’s Field Manual, only the right to control is required to
2
     establish an employer-employee relationship, and actual control is irrelevant.
3

4       24. The Decision was also not in accordance with law because the end-client’s
5
     requirements are irrelevant to the regulation under which Stellar established that
6
     the job was a specialty occupation.
7

8       25. Stellar establish that the job was a specialty occupation under the terms of 8
9
     C.F.R. § 214.2(h)(4)(iii)(A)(1) and the end-client requirements would be relevant
10

11
     only if Stellar claimed that the job was a specialty occupation under 8 C.F.R. §

12   214.2(h)(4)(iii)(A)(3).
13

14

15   WHEREFORE it is respectfully requested that this Court hold unlawful and set
16
     aside the decisions denying Stellar’s petition for nonimmigrant worker upon Mr.
17

18
     Krishnamurthy’s behalf and Mr. Krishnamurthy’s application for extension of stay

19   on the grounds that they were both arbitrary and capricious and not in accordance
20
     with law.
21

22
     Respectfully submitted this 27th day of August, 2018
23

24
     s/Michael E. Piston
25
     Michael E. Piston (MI 002)
26
       COMPLAINT                                 Michael E Piston (MI 002)
                                                 Attorney for the Plaintiffs
27                                               225 Broadway, Ste 307
                                                 New York, NY 10007
28                                               646-845-9895
                                                 michaelpiston4@gmail.com


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1    Attorney for the Plaintiffs
2
     225 Broadway, Ste 307
     New York, NY 10007
3    646-845-9895
4    michaelpiston4@gmail.com
5

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26
      COMPLAINT                             Michael E Piston (MI 002)
                                            Attorney for the Plaintiffs
27                                          225 Broadway, Ste 307
                                            New York, NY 10007
28                                          646-845-9895
                                            michaelpiston4@gmail.com


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